Case 2:05-cr-20203-.]DB Document 27 Filed 07/21/05 Page 1 of 2 PagelD 44

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UN|TED STATES OF A|ViEFt|CA

 

Plaintiff

VS.
CFt. NO. 05-20203-B

KATHF{YN BOWERS, BARF{Y |VlYEFtS,

Defendants.

 

ORDER ON CONT|NUANCE AND SPEClF¥lNC-`\ PER|OD OF EXCLUDABLE DELAY
AND SETT|NG

 

This cause was set for trial on the August, 2005 criminal rotation calendarl Counsel
for the defendants have requested a continuance of the trial date in order to allow for
additional preparation in the case.

The Court granted the request and reset the trial date to September 6, 2005 with
a Report Date of Thursda§¢l August 25. 200`;€ at 8:45 am.1 in Courtroom 1. 11th Floor
of the Federal Building, l\flemphis, TN.

The period from August12, 2005 through Septem|:)er 16, 2005 is excludable under
18 U.S.C. § 3161 (h)(8)(B)(iv) because the ends of justice served in allowing for additional
time to prepare outweigh the need for a speedy trial.

lTls so ORDEHEDthis 93qu day fJuty, 2005

 

N|EL BFtEEN
N|T D STATES D|STR[CT JUDGE

'l'his document entered on the docket sheet in compliance
with Rule 55 and/or 32(0) FFlCrP on -’ .,

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Notice of Distribution

This notice confirms a copy ot` the document docketed as number 27 in
case 2:05-CR-20203 Was distributed by faX, mail, or direct printing on
July 21, 2005 to the parties listed.

 

 

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Honorable J. Breen
US DISTRICT COURT

